Case 3:20-cv-04423-JD Document 167-1 Filed 08/31/22 Page 1of1

CASE NO. 3:20-CV-04423-JD

DECLARATION OF DAN COLEMAN (NON-PARTY)
ISO DEFENDANTS’ ADMIN. MOTION TO FILE UNDER SEAL

ENCLOSURES:

 

1) ORIGINAL
2) CHAMBERS COPY
3) EXTRA COPY AUG 3 1 2029
4) SASE
CLERK Us pyar _

NORTH DISTRI io? Cour
DAN COLEMAN, PRESIDENT ew ORNIA
MODERN WORKS MUSIC PUBLISHING
PO BOX 609
TUCSON AZ 85702-0609
212.459.2996
DAN.COLEMAN@MODERNWORKSPUB.COM
